Case 2:03-CV-02861-SHI\/|-STA Document 28 Filed 06/30/05 Page 1 of 2 Page|D 38

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IN THE UNITEI) sTATES DISTRICT CoURT
FOR THE WESTERN DISTRCIT oF TENNESSEE guns JUN 30 ppg 3= 22

 

WESTERN DIVISION
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DONNA sANTOS, ) WM OF TN. MEMPH€S

)
Plaintiff, ) Civil Action No. 03-2861 Ma

)
vs. )
)
UNUMPROVIDENT CORPORATION; )
UNUM LIFE INSURANCE COMPANY )
OF AMERICA, et al, )
)
Defendants. )

 

[PROPOSED] ORDER GRANTING JOINT MOTION FOR MODIFICATION
OF DECEMBER 1, 2004 SCHEDULING ORDER

 

lt appearing to the Court that the parties' Join Motion for Modiflcation of
December 1, 2004 Scheduling Order should be granted;
IT IS, THEREFORE, ORDERED that this Court's December 1, 2004, Scheduling

0rder governing this ERISA case shall be modified as follows:

Santos shall tile a Motion to Reverse the Plan
Administrator's Decision to Deny Benet`lts on or before
July 29, 2005. Unum shall tile its responsive brief on or
before August 29, 2005.

Date:

 

By:g%#$ (_/OJ/'lpé¢.._)

United States Magistrate Judge

DATED:QM 50 ,2005.

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UNTED STAETS DISTRICT COURT - WESTERN DTISICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy cf the document docketed as number 28 in
case 2:03-CV-02861 Was distributed by faX, mail, or direct printing on
July ], 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

